                   IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
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WILLIAM FEEHAN,

                           Plaintiff,                        CASE NO. 2:20-cv-1771
               v.

WISCONSIN ELECTIONS COMMISSION,
  and its members ANN S. JACOBS, MARK
  L. THOMSEN, MARGE BOSTELMAN,
  JULIE M. GLANCEY, DEAN KNUDSON,
  ROBERT F. SPINDELL, JR., in their official
  capacities, GOVERNOR TONY EVERS, in
  his official capacity,

                      Defendants.
______________________________________________________________________________

                  PLAINTIFF’S AMENDED NOTICE OF APPEAL
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   Notice is hereby given that William Feehan, Plaintiff in the above named case, hereby appeals

to the United States Court of Appeals for the Seventh Circuit from the District Court’s Order dated

December 9, 2020, ECF Dkt. No.83, dismissing his Amended Complaint for Declaratory,

Emergency, and Permanent Injunctive Relief, Dkt. No. 9, and denying as moot his Corrected

Motion for Declaratory, Emergency, and Permanent Injunctive Relief, Dkt. No. 6, and Amended

Motion for Temporary Restraining Order and Preliminary Injunction to be Considered in an

Expedited Manner, Dkt. No. 10, and further appeals from the Judgment entered in favor of the

Defendants and against the Plaintiff dated December 9, 2020.




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Dated December 10, 2020.

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